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11
                         UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13
                                   SANTA ANA DIVISION
14
                                                  Case No. SACV10-789 AG (MLGx)
15 JAMES SKORHEIM, as Litigation
   Trustee for the FCH Litigation Trust,
16
                            Plaintiff,            ORDER DISMISSING ACTION
17                                                WITH PREJUDICE
          vs.
18
    SCOTT N. FLANDERS, an individual;
19 THOMAS W. BASSETT, an
    individual; WILLIAM F. BAKER, an
20 individual; RAYMOND C.H. BRYAN,
    an individual; ROBIN J. HARDIE, an
21 individual; BURL OSBORNE, an
    individual; DAVID M. TOLLEY, an
22 individual; MICHAEL J.
    DOMINGUEZ, an individual; MARK
23 J. MASIELLO, an individual; DAVID
    D. THRESHIE, an individual; MARK              Honorable Andrew J. Guilford
24 T. GALLOGLY, an individual; JILL A.            Courtroom 10D
    GREENTHAL, an individual; JAMES
25 J. SPANFELLER, an individual;
    CHRIS PHILIBBOSIAN, an individual;
26 GREGORY J. WALLACE, an
    individual; and DOES 1 through 25,
27 inclusive,
28                              Defendants.

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1          In accordance with the Parties’ stipulation, IT IS HEREBY ORDERED that
2    this action is dismissed with prejudice in its entirety, pursuant to Federal Rule of
3    Civil Procedure 41(a)(1), with each party to bear its own fees and costs of suit.
4
5          IT IS SO ORDERED.
6
7    Dated: April 19, 2012
8
9                                             Honorable Andrew J. Guilford
                                              U.S. District Court Judge
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1                                 CERTIFICATE OF SERVICE
2            I am a resident of the State of California, over the age of eighteen years, and
3    not a party to the within action. My business address is 2029 Century Park East,
4    Suite 1370, Los Angeles, California 90067.
5            I hereby certify that on April 19, 2012, I electronically filed the
6            [PROPOSED] ORDER DISMISSING ACTION WITH PREJUDICE
7    with the Clerk of the Court by using the CM/ECF system which will send a notice of
8    electronic filing to the following CM/ECF registered parties:
9
        Daniel J. Callahan                          [Attorneys for Plaintiff JAMES
10      Brian J. McCormack                          SKORHEIM, as Litigation Trustee for
        David J. Darnell                            the FCH Litigation Trust]
11      Evan W. Granowitz
        CALLAHAN & BLAINE, APLC                     (714) 241-4444 Telephone
12      3 Hutton Centre Drive, Ninth Floor          (714) 241-4445 Facsimile
        Santa Ana, CA 92707                         Email: daniel@callahan-law.com
13      Phone: 714-241-4444                         Email: bmccormack@callahan-law.com
                                                    Email: ddarnell@callahan-law.com
14                                                  Email: egranowitz@callahan-law.com
15
             I declare under penalty of perjury that the foregoing is true and correct.
16
     Executed on April 19, 2012, at Los Angeles, California.
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19                                                     DIANE ENDO

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